UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                         Chapter 7
TRANSCARE CORPORATION, et al.,
                              Debtors.         16-bk-10407-DSJ
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SALVATORE LAMONICA, as Chapter 7
Trustee of the Jointly-Administered Estates of 18-ap-01021-DSJ
TransCare Corporation, et al.,
                               Plaintiff,      INFORMATION SUBPOENA WITH
V.                                             RESTRAINING NOTICE
LYNN TILTON, et al.,                           Potential Account Nos. (Last 4 Digits): -7669
                               Defendants.     -5415
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To:    Truist Bank
       50 Hudson Yards
       New York, NY 10001
       Attn: Scott Stengel, Chief Legal Officer

WHEREAS, in an action in the United States Bankruptcy Court for the Southern District of New
York, between Salvatore LaMonica, as Chapter 7 Trustee of the Jointly-Administered Estates of
TransCare Corporation, et al. and Shameeka Ien, as plaintiffs, and Lynn Tilton, Patriarch Partners
Agency Services, LLC, Patriarch Partners, LLC, Patriarch Partners Management Group, LLC,
ARK II CLO 2001-1, Limited, ARK Investment Partners II, L.P., LD Investments, LLC, Patriarch
Partners II, LLC, Patriarch Partners III, LLC, Patriarch Partners VIII, LLC, Patriarch Partners XIV,
LLC, Patriarch Partners XV, LLC, Transcendence Transit, Inc. and Transcendence Transit II, Inc.,
as defendants, who are all the parties named in the action, a judgment was entered on February 7,
2024, in favor of Salvatore LaMonica, as Chapter 7 Trustee of the Jointly-Administered Estates of
TransCare Corporation, et al., judgment creditor, and against Patriarch Partners Agency Services,
LLC, judgment debtor, in the amount of $2,765,358.84, of which $2,765,358.84, together with
interest thereon from said date, remains due and unpaid.

NOW, THEREFORE, WE COMMAND YOU, to make answer to the within questions in writing
under oath and return the original of the questions together with your answers to the undersigned
in the prepaid addressed return envelope accompanying this subpoena within seven days of their
receipt. False swearing or failure to comply with this subpoena is punishable as a contempt of
court.

                                    RESTRAINING NOTICE

Pursuant to CPLR 5222(b), which is set forth in full herein, you are hereby forbidden to make or
suffer any sale, assignment, transfer or interference with, any property of the judgment debtor to
any person other than the sheriff, except under direction of the sheriff or pursuant to order of the
court, until the expiration of one year after this notice is served upon you, or until the judgment is
satisfied or vacated, whichever event occurs first. Disobedience of this restraining notice is
punishable as a contempt of court.
                                           CPLR 5222(b)
                      Effect of restraint; prohibition of transfer; duration.

A judgment debtor or obligor served with a restraining notice is forbidden to make or suffer any
sale, assignment, transfer or interference with any property in which he or she has an interest,
except as set forth in subdivisions (h) and (i) of this section, and except upon direction of the sheriff
or pursuant to an order of the court, until the judgment or order is satisfied or vacated. A
restraining notice served upon a person other than the judgment debtor or obligor is effective only
if, at the time of service, he or she owes a debt to the judgment debtor or obligor or he or she is in
the possession or custody of property in which he or she knows or has reason to believe the
judgment debtor or obliger has an interest, or if the judgment creditor or support collection unit
has stated in the notice that a specified debt is owed by the person served to the judgment debtor
or obliger or that the judgment debtor or obligor has an interest in specified property in the
possession or custody of the person served. All property in which the judgment debtor or obligor
is known or believed to have an interest then in and thereafter coming into the possession or
custody of such a person, including any specified in the notice, and all debts of such a person,
including any specified in the notice, then due and thereafter coming due to the judgment debtor
or obligor, shall be subject to the notice except as set forth in subdivisions (h) and (i) of this section.
 Such a person is forbidden to make or suffer any sale, assignment or transfer of, or any interference
with, any such property, or pay over or otherwise dispose of any such debt, to any person other
than the sheriff or the support collection unit, except as set forth in subdivisions (h) and (i) of this
 section, and except upon direction of the sheriff or pursuant to an order of the court, until the
 expiration of one year after the notice is served upon him or her, or until the judgment or order is
 satisfied or vacated, whichever event first occurs. A judgment creditor or support collection unit
which has specified personal property or debt in a restraining notice shaUbe liable to the owner of
 the property or the person to whom the debt is owed, if other than the judgment debtor or obliger,
 for any damages sustained by reason of the restraint. If a garnishee served with a restraining
 notice withholds the payment of money belonging or owed to the judgment debtor or obligor in an
 amount equal to twice the amount due on the judgment or order, the restraining notice is not
 effective as to other property or money.

I HEREBY CERTIFY THAT THIS INFORMATION SUBPOENA COMPLIES WITH RULE
5224 OF THE CIVIL PRACTICE LAW AND RULES AND SECTION 601 OF THE GENERAL
BUSINESS LAW AND THAT I HAVE A REASONABLE BELIEF THAT THE PERSON
RECEIVING THIS SUBPOENA HAS IN HIS POSSESSION INFORMATION ABOUT THE
DEBTOR THAT WILL ASSIST THE CREDITOR IN COLLECTING THE JUDGMENT.

Dated: New York, NY                                      AminiLLC

                                                          ~ UJL,
       March 12, 2025

                                                         J~yChubak
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                                                         12th Floor
                                                         New York, NY 10001
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                                                         jchubak@amini1Ic.com
                                                         Attorneys for Plaintiff-Judgment Creditor
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK                        *AMENDED*
 In re:                                         Chapter 7
 TRANSCARE CORPORATION, et al.,
--------------'---'------I
                                Debtors.        16-bk-10407-DSJ
 SALVATORE LAMONICA, as Chapter 7
 Trustee of the Jointly-Administered Estates of 18~ap-01021-DSJ
 TransCare Corporation, et al.,
                                Plaintiff,      INFORMATION SUBPOENA
 V.                                             QUESTIONNAIRE
 LYNN TILTON, et al.,
                                Defendants.

Question 1

Identify each account titled in the name of Patriarch Partners Agency Services, LLC that has been
frozen by the accompanying restraining notice, and for each account state the amount has been
frozen.
  PATRIARCH PARTNERS AGENCY SERVICES LLC Checking xx7669 Balance: 96,930.83 Holding: $96,930.83
Answer




I affirm this 22 day of April       , 2025, under the penalties of perjury under the laws of New
York, which may include a fine or imprisonment, that Truist Bank is the recipient of an information
subpoena herein and ofa copy and original of the above written questions together with a prepaid,
addressed return envelope, that the foregoing answers to the above written questions are true and
complete, and I understand that this document may be filed in an action or proceeding in a court
oflaw.

                                                     TruistBank


                                                     By:~~b
                                                     Nam~ssaBugert
                                                     Title: Dep & Payment Ops Specialist




Original of Information Subpoena Questionnaire
